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                                No. 23-12958


           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT



                              State of Georgia,
                                           Plaintiff-Appellee,
                                      v.


                             Mark R. Meadows,
                                           Defendant-Appellant.


  From the United States District Court for the Northern District of Georgia
                 The Honorable Steve C. Jones, Presiding
                          No. 1:23-CV-3621-SCJ


                   Response Brief to October 17 Order
                   re United States v. Pate, No. 20-10545

                          George J. Terwilliger, III
                                John S. Moran
                             Michael Francisco
                                Francis J. Aul
                           MCGUIREWOODS LLP
                        888 16th Street NW, Suite 500
                           Washington, DC 20006
                               (202) 857-1700



            Counsel for Defendant-Appellant Mark R. Meadows
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                  CERTIFICATE OF INTERESTED PERSONS
                 AND CORPORATE DISCLOSURE STATEMENT

           To the best of Appellant’s knowledge, no associations of persons,

partnerships, or corporations have an interest in the outcome of this case or appeal,

including subsidiaries, conglomerates, affiliates, parent corporations, any publicly

held corporation that owns 10% or more of the party’s stock; the following is a list,

in alphabetical order, of all trial judges, attorneys, law firms, and persons with such

an interest *:

     1.      Alksne, Cynthia, amicus below

     2.      Anulewicz, Christopher Scott, attorney for Robert David Cheeley

     3.      Arora, Manubir, attorney for Kenneth John Chesebro

     4.      Aul, Francis, attorney for Mark R. Meadows

     5.      Ayer, Donald B., amicus below

     6.      Barron, Lynsey M., attorney for Scott Graham Hall

     7.      Beckermann, Wayne R., attorney for Robert David Cheeley

     8.      Bernick, Alex, Fulton County District Attorney’s Office

     9.      Bever, Thomas Dean, attorney for Shawn Micah Tresher Still

     10.     Bittman, Robert, attorney for Mark R. Meadows



*
  For all parties who appeared below, Appellant has included the parties, their
attorneys, and their attorneys’ law firms. In order to facilitate this Court’s review for
potential conflicts, Appellant has also included the other named defendants in the
state proceeding and their attorneys, where available.
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  11.   Bondurant Mixson & Elmore LLP

  12.   Carr, Christopher M., Attorney General of the State of Georgia

  13.   Cheeley, Robert David, Defendant in Georgia v. Trump

  14.   Chemerinsky, Erwin, amicus below

  15.   Chesebro, Kenneth John, Defendant in Georgia v. Trump

  16.   Childress, Marcus, attorney for amici

  17.   Christenson, David Andrew, pro se, denied intervention below

  18.   Clark, Jeffrey Bossert, Defendant in Georgia v. Trump

  19.   Cohen, Darryl B., attorney for Trevian C. Kutti

  20.   Copeland, Amy, amicus below

  21.   Cromwell, William Grant, attorney for Cathleen Alston Latham

  22.   Cross, Anna Green, Fulton County District Attorney’s Office

  23.   Cross Kincaid LLC

  24.   Durham, James D., attorney for Mark R. Meadows in Georgia v. Trump

  25.   Eastman, John Charles, Defendant in Georgia v. Trump

  26.   Ellis, Jenna Lynn, Defendant in Georgia v. Trump

  27.   Englert, Joseph Matthew, attorney for Mark R. Meadows

  28.   Farmer, John J. Jr., amicus below

  29.   Floyd, Harrison William Prescott, Defendant in Georgia v. Trump

  30.   Floyd, John Earl, Fulton County District Attorney’s Office

  31.   Francisco, Michael Lee, attorney for Mark R. Meadows


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  32.   Fried, Charles A., amicus below

  33.   Frosh, Brian, amicus

  34.   Fulton County District Attorney’s Office

  35.   Gerson, Stuart M., amicus

  36.   Gillen, Craig A., attorney for David James Shafer

  37.   Giuliani, Rudolph William Louis, Defendant in Georgia v. Trump

  38.   Graber, Mark A., amicus

  39.   Griffin Durham Tanner & Clarkson LLC

  40.   Grohovsky, Julie, amicus below

  41.   Grubman, Scott R., attorney for Kenneth John Chesebro

  42.   Hall, Scott Graham, Defendant in Georgia v. Trump

  43.   Hampton, Misty (a/k/a Emily Misty Hayes), Defendant in Georgia v.
        Trump

  44.   Harding, Todd A., attorney for Harrison William Prescott Floyd

  45.   Hogue, Franklin James, attorney for Jenna Lynn Ellis

  46.   Hogue, Laura Diane, attorney for Jenna Lynn Ellis

  47.   Jenner & Block, LLP

  48.   Jones, Steve C., U.S. District Court Judge for the Northern District of
        Georgia

  49.   Kallen, Michelle S., attorney for amici

  50.   Kammer, Brian S., attorney for amici below

  51.   Kelley, Emily E., attorney for Mark R. Meadows


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  52.   Kutti, Trevian C., Defendant in Georgia v. Trump

  53.   Lake, Anthony C., attorney for David James Shafer

  54.   Latham, Cathleen Alston, Defendant in Georgia v. Trump

  55.   Lee, Stephen Cliffgard, Defendant in Georgia v. Trump

  56.   Little, Jennifer L., attorney for Donald J. Trump

  57.   Luttig, J. Michael, amicus

  58.   MacDougald, Harry W., attorney for Jeffrey Bossert Clark

  59.   Marshall, Mary E., attorney for amici

  60.   McAfee, Scott, Fulton County Superior Court Judge

  61.   McFerren, William Coleman, attorney for Shawn Micah Tresher Still

  62.   McGuireWoods, LLP

  63.   Meyer, Joseph Michael, attorney for amici below

  64.   Miller, Tom, amicus

  65.   Moran, John S., attorney for Mark R. Meadows

  66.   Morgan, John Thomas III, attorney for amici

  67.   Morris, Bruce H., attorney for Ray Stallings Smith, III

  68.   Ney, Adam, Fulton County District Attorney’s Office

  69.   Novay, Kristen Wright, attorney for Ray Stallings Smith, III

  70.   Palmer, Amanda, attorney for Ray Stallings Smith, III

  71.   Parker, Wilmer, attorney for John Charles Eastman

  72.   Pierson, Holly Anne, attorney for David James Shafer


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  73.   Powell, Sidney Katherine, Defendant in Georgia v. Trump

  74.   Rafferty, Brian T., attorney for Sidney Katherine Powell

  75.   Ragas, Arnold M., attorney for Harrison William Prescott Floyd

  76.   Ratakonda, Maithreyi, attorney for amici

  77.   Raul, Alan Charles, amicus

  78.   Rice, Richard A., Jr., attorney for Robert David Cheeley

  79.   Roman, Michael A., Defendant in Georgia v. Trump

  80.   Rood, Grant H., Fulton County District Attorney’s Office

  81.   Sadow, Steven H., attorney for Donald J. Trump

  82.   Saldana, Sarah R., amicus below

  83.   Samuel, Donald Franklin, attorney for Ray Stallings Smith, III

  84.   Shafer, David James, Defendant in Georgia v. Trump

  85.   Shane, Peter M., amicus

  86.   Smith, Ray Stallings, III, Defendant in Georgia v. Trump

  87.   Still, Shawn Micah Tresher, Defendant in Georgia v. Trump

  88.   Terwilliger, George J., III, attorney for Mark R. Meadows

  89.   Trump, Donald J., Defendant in Georgia v. Trump

  90.   Twardy, Stanley A. Jr., amicus below

  91.   Volchok, Daniel, attorney for amici below

  92.   Wade, Nathan J., Fulton County District Attorney’s Office

  93.   Wade & Campbell Firm


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  94.   Wakeford, Francis McDonald IV, Fulton County District Attorney’s
        Office

  95.   Waxman, Seth P., attorney for amici below

  96.   Weld, William F., amicus below

  97.   Wertheimer, Fred, attorney for amici below

  98.   Williams, Jonathan L., attorney for amici

  99.   Willis, Fani T., Fulton County District Attorney’s Office

  100. Wilmer Cutler Pickering Hale and Dorr LLP

  101. Wooten, John William, Fulton County District Attorney’s Office

  102. Wu, Shan, amicus below

  103. Young, Daysha D’Anya, Fulton County District Attorney’s Office




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      The Court has directed the parties to address what effect, if any, United States

v. Pate, No. 20-10545, __ F.4th __, 2023 WL 6618405 (11th Cir. Oct. 11, 2023),

interpreting 18 U.S.C. § 1521, has on the analysis of whether a former officer may

remove under 28 U.S.C. § 1442(a)(1). The answer is that, in light of important

differences in “statutory text, context, and structure” between the two statutes, Pate,

supra, at *5, Pate has no material impact on this case. If anything, Pate further

supports the application of § 1442(a) to former officers sued for official acts.

      While this Court divided in Pate, no judge thought what mattered was the

officer’s status at the time of indictment. Rather, Pate—about a criminal statute

prohibiting malicious liens—quite naturally focused on the officer’s status at the

time of the actus reus, i.e., at the filing of the lien. By contrast, § 1442(a) is a civil

statute which provides a federal forum to federal officers sued in state court “for or

relating to” acts under color of federal office. The focus is quite naturally on the

officer’s status at the time of the official act that underlies the suit. Just as in Pate,

status at the time of indictment is irrelevant. Thus, a former officer—executive,

legislative, or judicial—sued for prior official acts can remove while a current

officer sued for prior non-official acts cannot.

      That rule follows directly from the text of § 1442(a) and its readily apparent

purpose to provide a federal forum for state suits implicating actions taken under

color of federal office. It is reinforced by the applicable rules of construction. The


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Supreme Court has instructed that, while criminal statutes should be interpreted

narrowly to protect the accused, § 1442(a) should be construed broadly to effectuate

its fundamental purpose of providing a federal forum for cases implicating the

official acts of federal officers. Federal immunity defenses still apply to former

officers, see Nixon v. Fitzgerald, 457 U.S. 731 (1982), and there is no basis to

interpret § 1442(a), which simply provides a federal forum for such claims, to be at

odds with that fundamental principle.

      A. Removal under § 1442(a) turns on whether the officer was in service at the

time of the “act under color of [federal] office” for which he is sued. The key

jurisdictional element is whether the suit is “for or related to” an “act under color of

[federal] office.” See Appellant’s Supplemental Brief, ECF No. 21, at 1–4 (“Supp.

Br.”). Consistent with Pate, the question is simply whether the removing party was

an officer at the time of that official act. It is clear that a current officer cannot

remove for prior unofficial acts, but it is equally clear that a former official can

remove for prior official acts. In either case, what matters is status at the time of the

acts under color of office, not status when a suit is filed or removed.

      One could think of it two ways: either (1) § 1442(a) uses “officer” to include

former officers like the statutes at issue in Robinson v. Shell Oil Co., 519 U.S. 337

(1997), and Davis v. Michigan Dep’t of Treasury, 489 U.S. 803 (1989), see Pate,

supra, at *11 (explaining these decisions show “that words like ‘officer’ and

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‘employee’ can . . . include formers . . . when the statutory context makes clear that

they should”); 1 or (2) “officer” means current officer, but that status is measured at

the time of the “act under color of [federal] office,” just as Pate measured official

status at the time of the offense conduct. All roads lead to the same conclusion: a

former officer may remove if sued for an act taken under color of office.

       Pate construed a reference to a federal “officer” in a different set of statutory

provisions: 18 U.S.C. §§ 1114, 1521. The Court held that the relevant question under

§ 1521, by cross-reference to § 1114, was whether the victims were officers “at the

time [the defendant] filed liens against their property,” Pate, supra, at *2—i.e., at

the time of the offense conduct. That view coheres with the principle that a criminal

offense turns on “the circumstances of the crime and the intent of the defendant at

the time of commission.” Apprendi v. New Jersey, 530 U.S. 466, 480 (2000)

(emphasis added). But it hardly suggests that § 1442(a) denies removal to a former

officer sued for official acts taken during his tenure.




1
  See also Supp. Br. 3 (“Prosecution of a former official may naturally be described
as a case ‘against . . . an[] officer . . . of the United States . . . for or relating to any
an[] act under color of [his] office’ . . . .”); id. at 5 n.6 (explaining why the phrasing
of 1442(a)’s predecessor statute “illustrates the lexical point . . . that ‘officer’
naturally refers to a former officer”); id. at 8 (“[T]he Westfall Act’s further reference
to ‘the estate of such employee’ further illustrates that the unmodified noun
‘employee’ (like ‘officer’) can naturally refer to someone who previously filled that
role but does not currently.”) (citing Margan v. Chemetron Fire Sys., Inc., 954 F.
Supp. 1127, 1130 (E.D. Va. 1997)).
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      In fact, neither the § 1521 victim nor the § 1442(a) removing party needs to

be a federal officer when the prosecution at issue is commenced. The parties and

opinion authors in Pate differed as to when to measure the § 1521 victim’s status.

The dissenters would have allowed conviction when the defendant’s conduct was

motivated by a prior official act of a former officer, see, e.g., Pate, supra, at *20

(Lagoa, J., dissenting), while the majority held the victim must be an officer when

the lien is filed, see id. at *2. But no one thought the officer must still be in active

service at the time of indictment. Thus, even if “officer” in § 1442(a) referred to a

current (rather than former) officer, the court would still need to interpret or construe

the statute to ascertain when that status is measured. And the text of § 1442(a) makes

clear—supported further by history, precedent, and purpose, see Supp. Br. 4–10—

that the relevant time for measuring officer status is at the time of the “act under

color of [federal] office” for which he is sued. That is the plain focus of the text and

the operative element giving rise to federal-question jurisdiction under Article III.2

      B. Using this Court’s construction of § 1521 in Pate to radically constrict the

protections of § 1442(a) would ignore that the two provisions are meaningfully

distinct in “statutory text, context, and structure.” Pate, supra, at *5.


2
  If the “act under color of [federal] office” did not define the relevant time, the text
of § 1442(a) would provide no clear definition: When the action or prosecution is
first commenced? When an amended complaint or superseding indictment makes it
removable? At the time of removal? When the federal court permits removal? For
the entire pendency of the case?
                                            4
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      First, the provisions differ in relevant statutory text.3 As a criminal provision,

§ 1521 naturally focuses on the prohibited conduct and the attendant circumstances

at the time of that conduct:

      Whoever [knowingly] files . . . any false lien . . . against the real or
      personal property of an individual described in section 1114, on
      account of the performance of official duties by that individual . . . shall
      be fined . . . or imprisoned for not more than 10 years, or both.

18 U.S.C. § 1521 (emphasis added). The class of individuals covered by § 1521 is

set forth separately in 18 U.S.C. § 1114, which provides:

      Whoever kills or attempts to kill any officer or employee of the United
      States . . . while such officer or employee is engaged in or on account
      of the performance of official duties . . . , shall be punished . . . .

Id. § 1114(a) (emphasis added). This Court in Pate construed these provisions to

prohibit filing a malicious lien “against the real or personal property of [an officer

or employee of the United States],” with status measured at the time of the offense.

      As a federal-question removal provision, § 1442(a) naturally focuses on the

connection between the case and an act under color of federal office:

      A civil action or criminal prosecution that is commenced in a State
      court and that is against or directed to any of the following may be
      removed by them to the district court of the United States for the district
      and division embracing the place wherein it is pending:




3
  The relevant provisions are set forth in full (along with the provisions related to
§ 1521 addressed in Pate) in the attached Statutory Addendum.
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      (1) . . . any officer (or any person acting under that officer) of the
      United States . . . , in an official or individual capacity, for or relating
      to any act under color of such office . . . .

28 U.S.C. § 1442(a) (emphasis added). The Supreme Court has also authoritatively

construed this statute and “its long line of statutory forebears” as establishing federal

jurisdiction by “the averment of a federal defense.” Mesa v. California, 489 U.S.

121, 125, 134 (1989).4

      The differences in text make clear that the Court’s construction of the

operative language in Pate simply does not resolve the question here.

      Second, the provisions arise in different contexts. Section 1521 is a recent

innovation, created in Section 201 (“Protections Against Malicious Recording of

Fictious Liens Against Federal Judges and Federal Law Enforcement Officers”) of

Title II (“Criminal Law Enhancements to Protect Judges, Family Members, and

Witnesses”) of the Court Security Improvement Act of 2007, Pub. L. No. 111–177,

121 Stat. 2534 (Jan. 7, 2008). It protects officers from harassment by private citizens

through prosecution of a federal criminal offense. And it is part of a family of

criminal enhancements that make it a federal offense to commit crimes that

ordinarily arise under state law when the victim is a federal officer. See 18 U.S.C.




4
  The Court explained that it had to read the “plain language” of § 1442(a) not just
in isolation but in the context of its “long-standing interpretation of Congress’ intent
in enacting the removal statute.” Id. at 134–35.
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§ 111 (assault and interference); id. § 115 (interference through threats or injury to

family members); id. § 1114 (murder, manslaughter, and attempted murder).

      Section 1442(a), by contrast, is the modern codification of a form of federal-

court jurisdiction that traces its roots back to the 19th Century. See Supp. Br. 2–3 &

1 n.2. It establishes jurisdiction and secures a federal forum for cases involving

federal immunity defenses, vindicating the core constitutional principle under the

Supremacy Clause that state prosecutors and state courts cannot interfere with the

operations of the federal government. See id. at 9–10.

      There is simply no reason to think that, because Congress in 2007 did not

make it a federal crime to file malicious liens against a former officer, Congress also

did not, starting nearly two centuries earlier, provide for removal of state suits

concerning the official acts of then-current (but now former) federal officers.

      The consequences of excluding former officers are also quite different. The

criminal prohibition in § 1521 provides federal officers additional protection above

and beyond state law when carrying out their duties. A former officer is still

protected by state law; indeed, under Pate, a former officer stands in the same

position as all federal officers before 2008. But if the Court were to hold that a

former officer cannot remove under § 1442(a), state law would not provide a

backstop; the very point of § 1442(a) is to allow removal and provide a federal forum

for adjudication of federal defenses. A narrowing construction of § 1442(a) would

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force former officers with meritorious immunity defenses to litigate them in state

court, risking not just the interests of the defendant but the interests of the United

States itself. See Bradford v. Harding, 284 F.2d 307, 309–10 (2d Cir. 1960)

(Friendly, J.) (citing Tennessee v. Davis, 100 U.S. 257, 262 (1879)).

      Third, the provisions are situated in different statutory structures. This Court

in Pate looked to 18 U.S.C. § 111 and § 115, emphasizing that “those provisions—

quite unlike § 1521—were amended in 1988 to bring explicitly within their coverage

individuals ‘who formerly served as . . . person[s] designated’ in § 1114.” See Pate,

supra, at *4 (citation omitted). The Court held that, under “an entire ‘family of

canons,’” Congress’s adding former officers expressly to § 111 and § 115 suggests

they are excluded from § 1521. The Court further relied on § 111 and § 115 to

distinguish the Supreme Court’s decision in Davis v. Michigan Dep’t of Treasury,

489 U.S. 803 (1989), see Pate, supra, at *10, which shows “that words like ‘officer’

and ‘employee’ can . . . include formers . . . when the statutory context makes clear

that they should,” id. at *11. None of that context bears on § 1442(a), which contains

no cross-reference to § 1114 and falls under Title 28, not in Title 18.

      This is all to say that § 1442(a) and § 1521 differ in ways that were material

to the Court’s decision in Pate. Pate therefore does not answer the question whether

former officers may remove under § 1442(a). Indeed, those distinctions only further




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illustrate why § 1442(a) applies where, as here, a former officer removes a

prosecution for or relating to a prior act under color of federal office.

      C. Removal by former officers vindicates the readily apparent purpose of the

Federal Officer Removal Statute “to allow federal courts to adjudicate challenges to

acts done under color of federal authority.” New York v. Trump, No. 23 CIV. 3773

(AKH), 2023 WL 4614689, at *5 (S.D.N.Y. July 19, 2023). Federal courts rightly

focus on text, but “words are given meaning by their context, and context includes

the purpose of the text.” ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE

INTERPRETATION OF LEGAL TEXTS 56 (2012). That is why the Supreme Court has

expressly rejected interpretations of § 1442(a) that would “defeat the purpose of the

removal statute.” Jefferson Cnty. v. Acker, 527 U.S. 423, 432 (1999). One need not

rely on “extrinsic sources such as legislative history or an assumption about the legal

drafter’s desires,” SCALIA & GARNER at 56, to know that the statute is meant to

provide a federal forum for adjudicating federal immunity defenses. See Supp. Br.

8–10. That is readily apparent from the text of § 1442(a), its predecessors, and the

federal courts’ long-standing reading of those laws.

      Allowing removal by a former officer of an action or prosecution for prior

official acts vindicates this purpose. 5 It makes removal under § 1442(a) effectively


5
 The Supreme Court has made clear that § 1442(a) “must be liberally construed” to
effectuate its purpose, Watson v. Philip Morris Companies, Inc., 551 U.S. 142, 147
(2007), which differs markedly from how federal courts construe criminal laws, see,
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co-extensive with federal immunity defenses, which apply to former officers. See

Nixon, 457 U.S. at 756; Gallizzi v. Williams, 423 F.2d 1213, 1214 (5th Cir. 1970).

A narrower reading, by contrast, would require state-court adjudication of federal

immunity defenses—what § 1442(a) is meant to avoid—if the defendant happened

to leave office. And it would chill current federal officers in the exercise of their

duties, knowing they face the threat of state prosecution in a state court immediately

upon leaving office. See New York v. Tanella, 374 F.3d 141, 147 (2d Cir. 2004); see

generally In re Neagle, 135 U.S. 1 (1890).

                             *     *      *      *     *

      A former officer like Meadows may remove under § 1442(a).




e.g., Pate, supra, at *11 (Rosenbaum, J., concurring) (explaining why construing
§ 1521 broadly to effectuate its purpose would have collided with the requirement
of “‘fair warning’ of what the law proscribes”). In the criminal context, “the fair
warning requirement” includes “the canon of strict construction of criminal statutes,
or rule of lenity,” which does not apply to the construction of civil statutes. United
States v. Lanier, 520 U.S. 259, 266 (1997).
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Dated: November 3, 2023                   Respectfully submitted,

                                          /s/ George J. Terwilliger III
                                          George J. Terwilliger III
                                          John S. Moran
                                          Michael Francisco
                                          Francis J. Aul
                                          MCGUIREWOODS LLP
                                          888 16th Street NW, Suite 500
                                          Washington, DC 20006
                                          (202) 857-1700
                                          gterwilliger@mcguirewoods.com
                                          jmoran@mcguirewoods.com
                                          mfrancisco@mcguirewoods.com
                                          faul@mcguirewoods.com

                                          Counsel to Mark R. Meadows




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                           STATUTORY ADDENDUM

18 U.S.C. § 111 – Assaulting, resisting, or impeding certain officers or
employees

(a) In General.—Whoever—

      (1) forcibly assaults, resists, opposes, impedes, intimidates, or interferes with
      any person designated in section 1114 of this title while engaged in or on
      account of the performance of official duties; or

      (2) forcibly assaults or intimidates any person who formerly served as a
      person designated in section 1114 on account of the performance of official
      duties during such person’s term of service,

shall, where the acts in violation of this section constitute only simple assault, be
fined under this title or imprisoned not more than one year, or both, and where such
acts involve physical contact with the victim of that assault or the intent to commit
another felony, be fined under this title or imprisoned not more than 8 years, or both.

(b) Enhanced Penalty.—

Whoever, in the commission of any acts described in subsection (a), uses a deadly
or dangerous weapon (including a weapon intended to cause death or danger but that
fails to do so by reason of a defective component) or inflicts bodily injury, shall be
fined under this title or imprisoned not more than 20 years, or both.

(c) Extraterritorial Jurisdiction.—

There is extraterritorial jurisdiction over the conduct prohibited by this section.

18 U.S.C. § 115 – Influencing, impeding, or retaliating against a Federal official
by threatening or injuring a family member

(a)

      (1) Whoever—

             (A) assaults, kidnaps, or murders, or attempts or conspires to kidnap or
             murder, or threatens to assault, kidnap or murder a member of the
             immediate family of a United States official, a United States judge, a

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          Federal law enforcement officer, or an official whose killing would be
          a crime under section 1114 of this title; or

          (B) threatens to assault, kidnap, or murder, a United States official, a
          United States judge, a Federal law enforcement officer, or an official
          whose killing would be a crime under such section,

    with intent to impede, intimidate, or interfere with such official, judge, or law
    enforcement officer while engaged in the performance of official duties, or
    with intent to retaliate against such official, judge, or law enforcement officer
    on account of the performance of official duties, shall be punished as provided
    in subsection (b).

    (2) Whoever assaults, kidnaps, or murders, or attempts or conspires to kidnap
    or murder, or threatens to assault, kidnap, or murder, any person who formerly
    served as a person designated in paragraph (1), or a member of the immediate
    family of any person who formerly served as a person designated in paragraph
    (1), with intent to retaliate against such person on account of the performance
    of official duties during the term of service of such person, shall be punished
    as provided in subsection (b).

    (b)

    (1) The punishment for an assault in violation of this section is—

          (A) a fine under this title; and

          (B)

                 (i) if the assault consists of a simple assault, a term of
                 imprisonment for not more than 1 year;

                 (ii) if the assault involved physical contact with the victim of that
                 assault or the intent to commit another felony, a term of
                 imprisonment for not more than 10 years;

                 (iii) if the assault resulted in bodily injury, a term of
                 imprisonment for not more than 20 years; or

                 (iv) if the assault resulted in serious bodily injury (as that term is
                 defined in section 1365 of this title, and including any conduct

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                   that, if the conduct occurred in the special maritime and
                   territorial jurisdiction of the United States, would violate section
                   2241 or 2242 of this title) or a dangerous weapon was used
                   during and in relation to the offense, a term of imprisonment for
                   not more than 30 years.

      (2) A kidnapping, attempted kidnapping, or conspiracy to kidnap in violation
      of this section shall be punished as provided in section 1201 of this title for
      the kidnapping or attempted kidnapping of, or a conspiracy to kidnap, a person
      described in section 1201(a)(5) of this title.

      (3) A murder, attempted murder, or conspiracy to murder in violation of this
      section shall be punished as provided in sections 1111, 1113, and 1117 of this
      title.

      (4) A threat made in violation of this section shall be punished by a fine under
      this title or imprisonment for a term of not more than 10 years, or both, except
      that imprisonment for a threatened assault shall not exceed 6 years.

(c) As used in this section, the term—

      (1) “Federal law enforcement officer” means any officer, agent, or employee
      of the United States authorized by law or by a Government agency to engage
      in or supervise the prevention, detection, investigation, or prosecution of any
      violation of Federal criminal law;

      (2) “immediate family member” of an individual means—

            (A) his spouse, parent, brother or sister, child or person to whom he
            stands in loco parentis; or

            (B) any other person living in his household and related to him by blood
            or marriage;

      (3) “United States judge” means any judicial officer of the United States, and
      includes a justice of the Supreme Court and a United States magistrate judge;
      and

      (4) “United States official” means the President, President-elect, Vice
      President, Vice President-elect, a Member of Congress, a member-elect of


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      Congress, a member of the executive branch who is the head of a department
      listed in 5 U.S.C. 101, or the Director of the Central Intelligence Agency.

(d) This section shall not interfere with the investigative authority of the United
States Secret Service, as provided under sections 3056, 871, and 879 of this title.

(e) There is extraterritorial jurisdiction over the conduct prohibited by this section.

18 U.S.C. § 1114 – Protection of officers and employees of the United States

(a) In General.—Whoever kills or attempts to kill any officer or employee of the
United States or of any agency in any branch of the United States Government
(including any member of the uniformed services) while such officer or employee is
engaged in or on account of the performance of official duties, or any person
assisting such an officer or employee in the performance of such duties or on account
of that assistance, shall be punished—

      (1) in the case of murder, as provided under section 1111;

      (2) in the case of manslaughter, as provided under section 1112; or

      (3) in the case of attempted murder or manslaughter, as provided in section
      1113.

(b) Extraterritorial Jurisdiction.—There is extraterritorial jurisdiction over the
conduct prohibited by this section.

18 U.S.C. § 1521 – Retaliating against a Federal judge or Federal law
enforcement officer by false claim or slander of title

Whoever files, attempts to file, or conspires to file, in any public record or in any
private record which is generally available to the public, any false lien or
encumbrance against the real or personal property of an individual described in
section 1114, on account of the performance of official duties by that individual,
knowing or having reason to know that such lien or encumbrance is false or contains
any materially false, fictitious, or fraudulent statement or representation, shall be
fined under this title or imprisoned for not more than 10 years, or both.




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28 U.S.C. § 1442 – Federal officers or agencies sued or prosecuted

(a) A civil action or criminal prosecution that is commenced in a State court and that
is against or directed to any of the following may be removed by them to the district
court of the United States for the district and division embracing the place wherein
it is pending:

      (1) The United States or any agency thereof or any officer (or any person
      acting under that officer) of the United States or of any agency thereof, in an
      official or individual capacity, for or relating to any act under color of such
      office or on account of any right, title or authority claimed under any Act of
      Congress for the apprehension or punishment of criminals or the collection of
      the revenue.

      (2) A property holder whose title is derived from any such officer, where such
      action or prosecution affects the validity of any law of the United States.

      (3) Any officer of the courts of the United States, for or relating to any act
      under color of office or in the performance of his duties;

      (4) Any officer of either House of Congress, for or relating to any act in the
      discharge of his official duty under an order of such House.

(b) A personal action commenced in any State court by an alien against any citizen
of a State who is, or at the time the alleged action accrued was, a civil officer of the
United States and is a nonresident of such State, wherein jurisdiction is obtained by
the State court by personal service of process, may be removed by the defendant to
the district court of the United States for the district and division in which the
defendant was served with process.

(c) Solely for purposes of determining the propriety of removal under subsection (a),
a law enforcement officer, who is the defendant in a criminal prosecution, shall be
deemed to have been acting under the color of his office if the officer—

      (1) protected an individual in the presence of the officer from a crime of
      violence;

      (2) provided immediate assistance to an individual who suffered, or who was
      threatened with, bodily harm; or



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      (3) prevented the escape of any individual who the officer reasonably believed
      to have committed, or was about to commit, in the presence of the officer, a
      crime of violence that resulted in, or was likely to result in, death or serious
      bodily injury.

(d) In this section, the following definitions apply:

      (1) The terms “civil action” and “criminal prosecution” include any
      proceeding (whether or not ancillary to another proceeding) to the extent that
      in such proceeding a judicial order, including a subpoena for testimony or
      documents, is sought or issued. If removal is sought for a proceeding
      described in the previous sentence, and there is no other basis for removal,
      only that proceeding may be removed to the district court.

      (2) The term “crime of violence” has the meaning given that term in section
      16 of title 18.

      (3) The term “law enforcement officer” means any employee described in
      subparagraph (A), (B), or (C) of section 8401(17) of title 5 and any special
      agent in the Diplomatic Security Service of the Department of State.

      (4) The term “serious bodily injury” has the meaning given that term in section
      1365 of title 18.

      (5) The term “State” includes the District of Columbia, United States
      territories and insular possessions, and Indian country (as defined in section
      1151 of title 18).

      (6) The term “State court” includes the Superior Court of the District of
      Columbia, a court of a United States territory or insular possession, and a
      tribal court.




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the ten-page limit set forth in the

Court’s October 17 order. This brief is 10 pages long, excluding items excluded from

length under Appellate Rule 32(f), and uses a Times New Roman 14-point font.



Respectfully submitted this 3rd day of November, 2023.

/s/ John S. Moran

John S. Moran

Counsel for Defendant-Appellant Mark R. Meadows
